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BR|DGESTONE F|RESTONE, lNC.,
PLA|NT|FF,

VS. NO. 04-2388 Ma P

WENDELL CODY,

DEFENDANT.

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ORDER OF DlSMlSSAL WlTH PREJUD|CE

 

Come now the P|aintiff and Defendant, by and through their attorneys of record, and state
to the Court that all issues under the original Complaint have been resolved by way of compromise
and approved bythe Tennessee Department ofLabor, VVorkers’ Compensation Specia|ist, and they
jointly request that the Court enter an Order of Dismissal With Prejudice with regard to the original
Comp|aint. A copy of the Workers’ Compensation Sett|ement Agreernents are attached hereto as
an exhibit

|T lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the within action is
hereby dismissed with prejudice and statutory costs of this cause are taxed to the Plaintiff upon

which execution may issue if necessary.

ENTEREDthisthe *'Nf\day of n \ ,2005.
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y l/

HON. SAl\/|UEL H. MAYS, JR.
United States District Judge

 

   
 

Thls document entered on the docket sheetl compl
with Flule 58 and/or 79(a) FRCP on

 

Case 2:04-cv-02388-SHl\/|-tmp Document 7 Filed 05/16/05 Page 2 of 3 Page|D 20

APPROVED FOR ENTRY:

MMMW

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This notice confirms a copy of the document docketed as number 7 in
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ESSEE

 

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US DISTRICT COURT

